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                 UNITED STATES DISTRICT COURT
                    DISTRICT OF MINNESOTA


IN RE: CENTURYLINK SALES
PRACTICES AND SECURITIES
LITIGATION
                                       MDL No. 17-2795 (MJD/KMM)
This Document Relates to:
Civil Action No. 18-296 (MJD/KMM)




            MEMORANDUM OF LAW IN SUPPORT OF
        PLAINTIFFS’ MOTION FOR FINAL APPROVAL OF
     CLASS ACTION SETTLEMENT AND PLAN OF ALLOCATION
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       Pursuant to Rule 23(e) of the Federal Rules of Civil Procedure, Court-appointed

Class Representatives the State of Oregon by and through the Oregon State Treasurer and

the Oregon Public Employee Retirement Board, on behalf of the Oregon Public Employee

Retirement Fund (“Oregon”), and Fernando Alberto Vildosola, as trustee for the AUFV

Trust U/A/D 02/19/2009 (“Vildosola,” and collectively with Oregon, “Plaintiffs”), on

behalf of themselves and the Court-certified Class, respectfully submit this memorandum

of law in support of their motion for final approval of: (1) the proposed settlement resolving

all claims in this securities class action (the “Action”) for $55 million in cash (the

“Settlement”), and (2) the proposed plan of allocation for distribution of the proceeds of

the Settlement (the “Plan of Allocation”).1

                                    INTRODUCTION

       Subject to Court approval, Plaintiffs have agreed to settle all claims in the Action in

exchange for a cash payment of $55 million, which has been deposited into an escrow

account. Plaintiffs respectfully submit that the proposed Settlement is an outstanding result

for the Class and satisfies the standards for final approval under Rule 23(e)(2) of the




1
  Unless otherwise defined in this memorandum, all capitalized terms have the meanings
defined in the Stipulation and Agreement of Settlement, dated January 29, 2021 (the
“Stipulation”) (ECF No. 354-1)) or in the Joint Declaration of Michael D. Blatchley and
Keil M. Mueller in Support of (I) Plaintiffs’ Motion for Final Approval of Class Action
Settlement and Plan of Allocation and (II) Lead Counsel’s Motion for an Award of
Attorneys’ Fees and Litigation Expenses (the “Joint Declaration” or “Joint Decl.”), filed
herewith. Citations to “¶__” in this memorandum refer to paragraphs in the Joint
Declaration and citations to “Ex. ” refer to exhibits in the Joint Declaration. Also, unless
otherwise noted, all references to “ECF No. __” are to the docket in Craig v. CenturyLink,
Inc., No. 18-cv-296 (MJD/KMM).
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Federal Rules of Civil Procedure. As discussed below and in the Joint Declaration,2 the

Settlement was reached after extensive arm’s-length settlement negotiations between

experienced counsel, which included two mediations before retired United States District

Court Judge Layn R. Phillips, one of the preeminent mediators for complex securities class

action cases. The Settlement Amount represents a substantial percentage of the likely

maximum potential damages and is greater than the total combined recoveries in private

and government actions brought on behalf of consumers nationwide in connection with the

sales and billing misconduct alleged in this case. If approved, the Settlement would be

among the top ten securities class action settlements ever in the District of Minnesota.

       At the time the agreement to settle was reached, Plaintiffs and Lead Counsel

Bernstein Litowitz Berger & Grossmann LLP (“Bernstein Litowitz”) and Stoll Stoll Berne

Lokting & Shlachter P.C. (“Stoll Berne”) (collectively, “Lead Counsel”) had a well-

developed understanding of the strengths and weaknesses of the Action. Before the

Settlement was agreed to, Lead Counsel had: (i) conducted an extensive investigation into

investors’ claims, including through interviews with dozens of former employees of

CenturyLink; (ii) drafted a detailed consolidated complaint based on Lead Counsel’s

investigation; (iii) successfully opposed Defendants’ motion to dismiss through extensive

briefing and oral argument; (iv) successfully moved for class certification, which required



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  The Joint Declaration is an integral part of this submission and, for the sake of brevity,
the Court is respectfully referred to it for detailed descriptions of, among other things: the
nature of the claims asserted in the Action (¶¶13-14); the history, prosecution, and
settlement of the Action (¶¶15-92); the risks and uncertainties of continued litigation of
Action (¶¶93-132); and the proposed Plan of Allocation (¶¶141-49).

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extensive briefing, preparation of two expert reports addressing market efficiency and

damages, defending the depositions of Oregon’s representatives and Vildosola, defending

two depositions of Plaintiffs’ expert, and deposing Defendants’ expert; (v) successfully

opposed Defendants’ Rule 23(f) petition; (vi) engaged in significant fact discovery,

including producing over 543,000 pages of documents from Plaintiffs and reviewing and

analyzing approximately 2.5 million pages of documents—including over 80 deposition

transcripts from related litigation—produced by Defendants and third parties; (vii) briefed

and argued numerous discovery motions; (viii) consulted with experts regarding loss

causation and damages, telecommunications industry practices, and economics, and other

issues presented by the Action; and (ix) participated in extensive arm’s-length settlement

negotiations, including in mediations under the auspices of Judge Phillips which involved

each side’s preparation of detailed mediation submissions, as well as critical analysis from

the other side and from Judge Phillips and his team.

       Plaintiffs and Lead Counsel believe that the Settlement is particularly favorable

given the risks of continued litigation. This was not a case with restated financial

statements, a parallel SEC investigation, or a governmental inquiry into the alleged

misstatements supporting Plaintiffs’ claims. To the contrary, the Action presented many

significant risks to establishing both liability and damages through continued litigation that

could have resulted in no recovery at all for the Class. In addition, if the litigation had

continued, Plaintiffs would have to prevail at several additional stages, including summary

judgment, trial, and appeals. This process would have taken years and presented risks at




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each stage. The Settlement avoids these risks and provides a substantial and certain benefit

rather than the mere possibility of a recovery after additional years of litigation.

       In light of these considerations and the other factors discussed below, Plaintiffs

respectfully submit that the Settlement is fair, reasonable, and adequate, and warrants final

approval by the Court. Additionally, Plaintiffs request that the Court approve the Plan of

Allocation, which was set forth in the Notice previously approved by the Court. The Plan

of Allocation, which Lead Counsel developed in consultation with Plaintiffs’ damages

expert, provides a reasonable method for allocating the Net Settlement Fund among Class

Members who submit valid claims based on damages they suffered on purchases of

CenturyLink securities.

                                        ARGUMENT

I.     THE PROPOSED SETTLEMENT WARRANTS FINAL APPROVAL

       Rule 23(e) requires that a court find a proposed class-action settlement “fair,

reasonable, and adequate” before approving it. Fed. R. Civ. P. 23(e)(2). The Court’s role

in reviewing a class settlement is “to ensure that the agreement is not the product of fraud

or collusion and that, taken as a whole, it is fair, adequate, and reasonable to all concerned.”

See Keil v. Lopez, 862 F.3d 685, 693 (8th Cir. 2017).

       The Eighth Circuit has recognized that “[a] strong public policy favors [settlement]

agreements, and courts should approach them with a presumption in their favor.” See

Petrovic v. Amoco Oil Co., 200 F.3d 1140, 1148 (8th Cir. 1999).                 This policy is

“particularly strong in the class action context.” In re Uponor, Inc., F1807 Plumbing

Fittings Prods. Liab. Litig., 2012 WL 2512750, at *7 (D. Minn. June 29, 2012).


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       In reviewing a settlement for final approval, Rule 23(e)(2) provides that the Court

should determine whether a proposed settlement is “fair, reasonable, and adequate” after

considering whether:

       (A) the class representatives and class counsel have adequately represented
       the class; (B) the proposal was negotiated at arm’s length; (C) the relief
       provided for the class is adequate, taking into account: (i) the costs, risks, and
       delay of trial and appeal; (ii) the effectiveness of any proposed method of
       distributing relief to the class, including the method of processing class-
       member claims; (iii) the terms of any proposed award of attorney’s fees,
       including timing of payment; and (iv) any agreement required to be identified
       under Rule 23(e)(3); and (D) the proposal treats class members equitably
       relative to each other.

Fed. R. Civ. P. 23(e)(2). Traditionally, the Eighth Circuit has held that district courts

should also consider following four factors in evaluating a class-action settlement:

       (1) the merits of the plaintiff’s case [] weighed against the terms of the
       settlement, (2) the defendant’s financial condition, (3) the complexity and
       expense of further litigation, and (4) the amount of opposition to the
       settlement.

In re Target Corp. Customer Data Sec. Breach Litig., 892 F.3d 968, 978 (8th Cir. 2018);

Keil, 862 F.3d at 693; Van Horn v. Trickey, 840 F.2d 604, 607 (8th Cir. 1988) (the “Van

Horn Factors”).

       As discussed further below, these factors support approval of the Settlement.

       Plaintiffs and Lead Counsel Have Adequately Represented the Class

       In determining whether to approve a class-action settlement, the court considers

whether “the class representatives and class counsel have adequately represented the

class.” Fed. R. Civ. P. 23(e)(2)(A). Adequacy of representation focuses on two issues:

whether “(1) the class representatives have common interests with members of the class,



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and (2) whether the class representatives will vigorously prosecute the interests of the class

through qualified counsel.” Paxton v. Union Nat’l Bank, 688 F.2d 552, 562-63 (8th Cir.

1982).

         Here, there can be little doubt that Plaintiffs have adequately represented the Class.

To start, there is no antagonism or conflict between Plaintiffs and the Class. Plaintiffs and

the other Class Members all purchased or otherwise acquired publicly traded CenturyLink

common stock and/or 7.60% Notes during the Class Period and were allegedly damaged

by the same alleged false and misleading statements about CenturyLink’s sales and billing

practices and the Company’s financial results. If Plaintiffs proved their claims at trial, they

would also prove the Class’s claims. See Amgen Inc. v. Conn. Ret. Plans & Tr. Funds, 568

U.S. 455, 459-60 (2013) (the investor class “will prevail or fail in unison” because claims

are based on common misrepresentations and omissions).

         Moreover, Plaintiffs and Lead Counsel have more than adequately represented the

Class in both their vigorous prosecution of the Action for three-and-a-half years and in the

negotiation and achievement of the Settlement. Lead Counsel Bernstein Litowitz and Stoll

Berne are highly qualified and experienced in securities litigation, as set forth in their firm

resumes (see Exs. 5A-3 and 5B-3 to the Joint Declaration), committed extensive resources

and skillfully pursued the claims of the Class, and were able to successfully prosecute the

litigation against skilled opposing counsel. Indeed, Plaintiffs and Lead Counsel conducted

an extensive investigation, overcame Defendants’ motion to dismiss, obtained and

reviewed substantial discovery including following numerous litigated discovery disputes,




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and obtained certification of the class in the face of a vigorous opposition and challenging

legal arguments.

       Accordingly, as the Court previously found in certifying the Class and appointing

Plaintiffs as Class Representatives and Lead Counsel as Class Counsel, Plaintiffs and Lead

Counsel have adequately represented the Class. See ECF No. 321 at 48-49.

       The Settlement Was Reached After Arm’s-Length Negotiations with the
       Assistance of An Experienced Mediator

       In weighing approval of a class-action settlement, the Court also considers whether

the settlement “was negotiated at arm’s length.” Fed. R. Civ. P. 23(e)(2)(B). Here, the

Settlement was reached after months of arm’s-length negotiations between experienced

counsel, an initial mediation process conducted under the auspices of Judge Phillips, and

further direct and extensive arm’s-length negotiations among counsel—and even then,

resolution was only achieved after the parties agreed to a mediator’s recommendation from

Judge Phillips.

       Judge Phillips, one of the preeminent mediators for complex litigation, including

securities class actions, previously mediated the parallel private consumer action in this

matter, and thus was well-positioned to assess the relative strengths and weaknesses of the

Parties’ positions. See Declaration of Layn R. Phillips (Ex. 1) (“Phillips Decl.) at ¶¶4-5.

The Parties participated in a full-day, in-person mediation before Judge Phillips in Corona

Del Mar, California on February 4, 2020. Id. ¶6. Before the mediation, the Parties

exchanged and submitted to Judge Phillips detailed mediation statements and supporting

exhibits concerning liability, loss causation, and damages. Id. ¶7. At the mediation



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session, the Parties engaged in a full day of vigorous settlement negotiations but were

unable to reach any agreement on a resolution of the Action. Id. ¶8. Extensive subsequent

direct negotiations between counsel over subsequent months were also unsuccessful, until

Judge Phillips became involved again and issued a mediator’s recommendation that finally

produced a compromise. Id. ¶9.

       The Parties’ agreement to resolve the Action for $55 million was based on Judge

Phillips mediator’s recommendation after these extensive negotiations. Id. ¶9; see Khoday

v. Symantec Corp., 2016 WL 1637039, at *8 (D. Minn. Apr. 5, 2016) report and

recommendation adopted, 2016 WL 1626836 (D. Minn. Apr. 22, 2016), aff’d sub nom.

Caligiuri v. Symantec Corp., 855 F.3d 860 (8th Cir. 2017) (fact that settlement was

“reached through the assistance of an experienced, independent mediator” weighed in

favor of approval); see also In re MGM Mirage Sec. Litig., 708 F. App’x 894, 897 (9th Cir.

2017) (unpublished) (calling Judge Phillips a “nationally recognized mediator” and

affirming settlement approval in part due to his representations); In re Equifax Inc.

Customer Data Sec. Breach Litig., 2020 WL 256132, at *6 (N.D. Ga. Mar. 17, 2020), aff’d

in part, rev’d in part and remanded on other grounds, 2021 WL 2250845 (11th Cir. June

3, 2021) (noting that Judge Phillips is “a retired federal judge with a wealth of experience

in major complex litigation” and crediting his representations about reasonableness of

settlement and sound negotiation process).

       Plaintiffs and Lead Counsel were well-informed of the strengths and weaknesses of

their claims at the time of the settlement negotiations, having (i) conducted an extensive

investigation; (ii) performed extensive legal and factual research in preparing the


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Complaint, the briefing in opposition to Defendants’ motion to dismiss, the briefing in

support of the motion for class certification; (iii) worked with industry and other experts;

and (iv) reviewed over 2.2 million pages of documents, including transcripts of the

deposition testimony of 80 witnesses who were deposed in the related Minnesota Attorney

General action and consumer class action. See ¶¶22-72. The informed conclusion of

Plaintiffs and Lead Counsel that the Settlement is fair and reasonable and in the best

interests of the Class further supports the Settlements’ approval.

         Further, Oregon—an experienced, sophisticated institutional investor that has

achieved numerous securities class action recoveries under the PSLRA, and Mr. Vildosola,

an experienced investor who suffered a substantial loss on the 7.60% Notes—have

endorsed the Settlement. See Declaration of Brian de Haan on behalf of Oregon (Ex. 2)

(“de Haan Decl.”) ¶7; Declaration of Fernando Alberto Vildosola (Ex. 3) (“Vildosola

Decl.”) ¶5. A settlement reached “under the supervision and with the endorsement of a

sophisticated institutional investor . . . is ‘entitled to an even greater presumption of

reasonableness.’” In re Veeco Instruments Inc. Sec. Litig., 2007 WL 4115809, at *5

(S.D.N.Y. Nov. 7, 2007).        Indeed, Oregon and the representatives of the Oregon

Department of Justice and Oregon State Treasury who oversaw this action exemplify the

qualities of the institutional investors Congress sought to empower in enacting the PSLRA

to vigorously pursue investors’ interests, and they diligently, expertly and faithfully carried

out that role in demanding the best possible outcome for the Class here. de Haan Decl.

¶¶2-7.




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       The judgment of Lead Counsel Bernstein Litowitz and Stoll Berne, two firms with

significant experience in securities class-action litigation, is also entitled to “great weight”

and supports approval of the settlement. George v. Uponor Corp., 2015 WL 5255280, at

*6 (D. Minn. Sept. 9, 2015) (“courts give ‘great weight’ to and may ‘rely on the judgment

of experienced counsel in its evaluation of the merits of a class action settlement’”); see

also DeBoer v. Mellon Mortg. Co., 64 F.3d 1171, 1178 (8th Cir. 1995) (“the views of

counsel are to be accorded deference”).

       The Relief that the Settlement Provides for the Class is Adequate, Taking into
       Account the Costs and Risks of Further Litigation and All Other Relevant
       Factors

       In determining whether a class action settlement is “fair, reasonable, and adequate,”

the Court also considers whether “the relief provided for the class is adequate, taking into

account . . . the costs, risks, and delay of trial and appeal” as well as other relevant factors.

Fed. R. Civ. P. 23(e)(2)(C)(i). This factor under Rule 23(e)(2)(C) encompasses at least

two of the four traditional Van Horn factors: the merits of the plaintiffs’ case weighed

against the terms of the settlement; and the complexity and expense of further litigation.

       As further detailed in the Joint Declaration, continued litigation of the Action

presented a number of significant risks that Plaintiffs would be unable to establish liability,

loss causation, or damages. ¶¶102-29. Continuing the litigation through trial and appeals

would also impose substantial additional costs on the Class and result in extended delays

before any recovery could be achieved. ¶¶93, 130-32. The Settlement, which provides a

$55 million cash payment for the benefit of the Class, provides certainty and avoids those

further costs and delays. The Settlement is also reasonable when considered in relation to


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the potential recovery, which was far from certain, that might be obtained if Plaintiffs

prevailed at summary judgment, trial, and on any appeals. ¶¶133-34.

       1.     The Risks of Establishing Liability and Damages Support Approval of
              the Settlement

       While Plaintiffs and Lead Counsel believe that the claims asserted against

Defendants in the Action are meritorious, they recognize that this Action presented several

substantial risks to establishing both liability and damages.

              (a)    Risks To Proving Liability

       Plaintiffs recognize that they faced significant challenges in proving that

Defendants’ statements were materially false and misleading when made. Neither the

SEC nor any other governmental entity brought a formal investigation or asserted a

parallel enforcement action concerning the alleged misrepresentations at issue here, and

CenturyLink never restated its financial statements. See In re Signet Jewelers Ltd. Sec.

Litig., 2020 WL 4196468, at *7 (S.D.N.Y. July 21, 2020) (approval warranted in light of

“substantial risks to establishing both liability and damages” as there was no “parallel SEC

action or a restatement of financial results to support Lead Plaintiff’s claims and provide

a roadmap for discovery”). To the contrary, Defendants have consistently asserted that

their statements to investors about CenturyLink’s sales and billing practices were accurate

when made, based on information available at the time. ¶¶105-10.

       Here, the alleged false and misleading statements in this case include misstatements

and omissions concerning: (i) CenturyLink’s business strategies and the reasons for its

financial performance; (ii) Defendants’ secret attempt to address the Company’s



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“cramming” crisis; (iii) CenturyLink’s purported business integrity and honest sales

practices; (iv) CenturyLink’s regulatory risks; (v) known trends and uncertainties as set

forth in Item 303 of Regulation S-K; and (vi) CenturyLink’s financial results, which were

allegedly inflated with illicit proceeds. ¶105 In their motion to dismiss and, to some

degree, in their opposition to Plaintiffs’ class certification motion, Defendants vigorously

argued that none of these statements were false or material to investors. See ¶26. While

Plaintiffs were successful in defeating Defendants’ motion to dismiss and obtained

certification of the Class, Defendants would likely have repeated their arguments at

summary judgment or trial, where the applicable standards would be potentially more

challenging for Plaintiffs. See ¶105.

       For example, Defendants likely would have challenged the materiality of any

allegedly concealed cramming misconduct. Defendants likely would have argued that

customer complaints are routine at any telecommunications company, properly accounted

for at CenturyLink according to its independent auditor, and that, even assuming any

misconduct occurred, its scope was small relative to CenturyLink’s size, whether measured

by its number of customers, number of employees, or overall revenues—thus rendering it

immaterial to the Company’s investors. See ¶¶106-09.

       Similarly, Defendants likely would have argued that the financial impact of any

alleged misconduct was even smaller still—particularly because CenturyLink investigated

complaints and routinely reimbursed customers who were overcharged. ¶107. Defendants

also were likely to argue that, in at least some instances, billing errors would have resulted

in lost revenue for the Company and would have to offset gains from cramming in order to


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properly assess the materiality of cramming to CenturyLink’s bottom-line financial

performance. Id.

      In support of these arguments, Defendants likely would have argued that internal

documents reflected that the Company received a relatively small number of complaints

related to cramming, that CenturyLink investigated instances of alleged cramming, and

that it routinely reimbursed customers who were overcharged. ¶108.

      Moreover, here, Defendants would have cited the evidence purportedly supporting

the findings of the internal investigation into the sales and billing misconduct alleged in

this case, which was conducted by a Special Committee of the Company’s Board of

Directors with the assistance of outside independent law firm O’Melveny & Myers LLP—

an investigation whose findings completely exculpate Defendants for the systemic

misconduct alleged by Plaintiffs.      Specifically, as reported by CenturyLink, that

investigation—which was undertaken in direct response to the allegations of billing

misconduct at issue in this case and included review of 9.7 million documents and 32

billion billing records, and interviews with 200 current and former employees—“did not

reveal evidence to conclude that any member of the Company’s management team engaged

in fraud or wrongdoing.” ¶¶119-20. In fact, the investigation concluded that “Company

management did not condone or encouraging cramming” and that “the evidence did not

show that cramming was common at the Company.” ¶119. To the contrary, CenturyLink

explained that the investigation concluded that the “Company maintains specific policies

and procedures that prohibit and are designed to prevent and deter cramming” and found




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that when “instances of cramming were found to have occurred, the Company took

reasonable actions to discipline employees.” Id.

        In this light, the fact that CenturyLink settled related consumer and Attorney

General cases for relatively modest amounts would have been cited by Defendants as

exculpatory, as Defendants would have argued that these settlements were consistent with

the Company’s own investigatory findings that, while there may have been instances of

billing errors, those errors were immaterial, inadvertent, and no way the product of

intentional fraud. ¶¶108-09. Defendants also likely would have contrasted the modest

Attorney General settlements here to the more than $3 billion in fines and penalties

imposed on Wells Fargo, which Plaintiffs have suggested is a comparator for this case.

¶109.

        Moreover, Defendants could have persuasively argued that any financial

misrepresentations were immaterial for various reasons, including that any amounts

CenturyLink obtained by billing errors or misconduct were small, that CenturyLink’s

billing problems did not generate material revenue for the Company but represented a cost

drain in light of the efforts CenturyLink was undertaking to address billing issues, and that

CenturyLink reimbursed customers it overbilled. ¶¶107, 120.

        While these and other similar arguments were too fact-intensive to be credited at

earlier stages of the case, and Plaintiffs believe they would have had strong arguments to

make in response, there was a significant risk that the Court or a factfinder could have

credited Defendants’ arguments at either summary judgment or trial. This could have led

to the dismissal of many or all statements from the case, particularly given that several


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were sustained at the motion to dismiss stage because the Complaint adequately alleged

that Defendants were obtaining material revenues from cramming and other similar

misconduct. See, e.g., In re CenturyLink Sales Pracs. & Sec. Litig. , 403 F. Supp. 3d 712,

725 (D. Minn 2019) (“The Complaint adequately alleges that CenturyLink’s statements

regarding its strategies and policies were false because, in fact, cramming was widespread

[and] systemic . . . and . . . Defendants knew CenturyLink’s sales were materially dependent

on cramming.”); id. at 726 (“The Complaint adequately alleges that Item 303(a) of

Regulation S-K required CenturyLink to disclose that its illegal sales practices were a

material driver of its reported revenue[.]”). Had that happened, Plaintiffs’ recovery would

have been severely reduced, if not eliminated entirely.

       Further, Defendants previewed a significant “truth-on-the-market” defense in their

class certification papers. Specifically, Defendants’ expert argued that allegations of

cramming and billing misconduct against telecommunications companies—including

CenturyLink itself—were widespread during the Class Period, and thus that investors could

not have been misled by Defendants’ alleged misrepresentations. See ECF No. 227-1 at

¶¶54-55. While Plaintiffs correctly challenged those opinions as too fact-intensive for

resolution at class certification, Defendants likely would have raised them again at

summary judgment or trial. Plaintiffs believe they would have been able to rebut those

arguments, but there was a meaningful risk that the Court or a jury might have accepted

them. If that happened, such a finding would have rendered immaterial some or all of

Defendants’ alleged misrepresentations, thereby reducing or precluding any recovery for

the Class.


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       In addition, Defendants challenged certain of the alleged misrepresentations as non-

actionable opinions or forward-looking statements. See ¶26. The Court rejected those

arguments at the pleading stage, including because the Complaint alleged facts suggesting

that Defendants knew their statements were false or misleading. See, e.g., CenturyLink,

403 F. Supp. 3d at 728-29. However, if Defendants were able to undermine the conclusion

with evidence suggesting that cramming and related misconduct was not, in fact,

widespread or material at the Company, they might have been able to obtain dismissal of

such statements at summary judgment or trial. See ¶111.

       Similarly, Defendants argued at the motion-to-dismiss stage that several of the

alleged false and misleading statements were mere “puffery”—statements too vague or

general to have misled investors. See ¶26.           Although the Court’s opinion denying

Defendants’ motion to dismiss rejected these arguments, it specifically did so “at this

stage,” see id. at 727, and Defendants remained free to press this “puffery” argument at

summary judgment or trial. Defendants likely would have bolstered such arguments with

evidence showing that financial analysts following CenturyLink did not mention many of

the alleged false and misleading statements in their coverage of the Company. See ¶112.

Had the Court or the factfinder credited Defendants’ arguments on this score, Plaintiffs

would have been precluded from recovering for these statements.

       The substantial risk that the Court or a fact finder could later conclude statements

upheld as actionable at the motion-to-dismiss stage here following further litigation and

fact discovery does not reflect an unrealistic or remote possibility. For example, in a recent

decision involving similar statements challenged by defendants as puffery and forward-


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looking, the court at summary judgment—after over five years of litigation, fact and expert

discovery, and Daubert motion practice—dismissed the case with prejudice after

concluding 44 alleged misstatements sustained at the motion-to-dismiss stage were not

actionable under the PSLRA. See Murphy v. Precision Castparts Corp., 2021 WL

2080016, *1-2 (D. Or. May 24, 2021); Murphy v. Precision Castparts Corp., 2020 WL

4040827, *10-11, *15-17 (D. Or. July 17, 2020).

       Even if Plaintiffs were able to prove that Defendants’ statements were false and

misleading, they would still need to prove to a jury that Defendants made the alleged false

statements with the intent to mislead investors or with deliberate recklessness.         As

discussed in the Joint Declaration, the Complaint alleged scienter based on several facts,

including Defendants’ imposition of quotas (and Defendants’ aborted attempt to move

away from a quota-focused sales performance system to reduce cramming), numerous

statements by former employees who described (among other things) reporting of

cramming to CenturyLink senior executives, the importance of CenturyLink’s consumer

unit, and Defendants’ review of data evidencing cramming. See generally ¶¶114-20. If,

as discussed above, Defendants were successful in establishing that cramming and related

misconduct were not actually widespread at CenturyLink, it would have severely limited

the probative force of many of those scienter-related facts. For instance, if Defendants

were able to convince the Court or a factfinder that CenturyLink’s internal data did not

show significant cramming activity, Defendants’ review of that data would arguably

undermine scienter, rather than support it. See ¶115.




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       Also, because scienter concerns individuals’ states of mind, Plaintiffs faced a

significant risk that they would not have been able to develop evidence of such culpable

intent. This risk was particularly salient for certain key allegations in the Complaint. For

example, the Complaint and the Court’s motion to dismiss opinion focused significant

attention on allegations that, in an attempt to address cramming problems at CenturyLink,

the Company shifted to a “behavioral coaching” approach to evaluating sales and customer

service employees during the class period, but abandoned that approach when it led to sales

declines. See, e.g., CenturyLink, 403 F. Supp. 3d at 733-34. Although the documentary

record showed that CenturyLink did attempt to change aspects of its evaluation of sales

and customer service employees during the Class Period, Plaintiffs would have had to

establish certain further key facts to undermine Defendants’ anticipated arguments that the

change in performance measurement was undertaken for other legitimate business reasons

unrelated to cramming. See ¶116.

       In addition, Defendants likely would have argued that the imposition of quotas is a

commonplace tactic in sales organizations, and that it is in fact intended to maximize

shareholder value by incentivizing employees to make sales.            See ¶117.   Further,

Defendants would likely have argued that terminations are also commonplace in sales

organizations and that, even if executives were aware of them, the terminations here were

not so out-of-the-ordinary as to merit suspicion. See id. In addition, Defendants likely

would have argued that the termination of Heidi Heiser, the whistleblower whose

complaint sparked the initial corrective disclosure in this case, did not support scienter,

including because Ms. Heiser was terminated for reasons unrelated to the alleged


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whistleblowing and voluntarily dismissed her lawsuit alleging wrongful termination. See

id.

       Defendants would also have pointed to significant evidence they would have argued

undermined any inference of scienter. For example, Defendants would likely have argued

that, during the Class Period, CenturyLink had explicit rules in place prohibiting cramming,

had processes in place to detect cramming, disciplined and terminated employees who

engaged in cramming, and refunded customers impacted by billing errors. See ¶118.

       Again, in support of these arguments, Defendants would likely point to the internal

investigation the Board’s Special Committee conducted in connection with the billing

misconduct alleged in this case, as well as the evidence purporting to supports its

conclusions that the investigation “did not reveal evidence to conclude that any member of

the Company’s management team engaged in fraud or wrongdoing” and that “[c]ompany

management did not condone or encourage cramming, and the evidence did not show that

cramming was common at the Company.” Ex. 10.

       Defendants would have argued that these facts are entirely at odds with any alleged

scheme to inflate CenturyLink’s financial performance or deceive investors. See ¶120.

Defendants likely would have further argued that overbilling customers makes no sense as

a hidden scheme to inflate revenues, since customers can and do complain publicly and can

prompt regulator investigations, and that the reputational harm in terms of lost current and

future customers and the costs of responding to such regulator inquiries would have

outweighed any potential revenue gains obtained through cramming. See id. While

Plaintiffs believe they had strong arguments to make and evidence to marshal in response,


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if the Court or a jury were to accept Defendants’ scienter arguments in whole or in part,

the Class’s recovery could have been reduced or eliminated.

              (b)    Risks To Proving Loss Causation and Damages

       Even if Plaintiffs were able to prove Defendants’ material misrepresentations and

scienter, they still faced significant risks in proving loss causation and damages.     For

example, Defendants would have likely contended at summary judgment and trial that

Plaintiffs could not establish a causal connection between the alleged misrepresentations

and the losses investors suffered, as required by law. ¶122. In support of this contention,

Defendants would likely reprise their arguments from class certification that the alleged

misrepresentations in the case lacked price impact. Id. According to Defendants, the

alleged misrepresentations were not consistently associated with increases in the prices of

CenturyLink common stock and 7.60% Notes during the Class Period, and, therefore, the

alleged misrepresentations did not inflate the prices of those securities. Id. Defendants

also argued that the price drop associated with the second alleged corrective disclosure was

not statistically significant and the use of a two-day window was inappropriate. Id.

       In addition, Defendants would again argue that the alleged corrective disclosures

were not corrective as a matter of law because, among other things, they only reported on

unproven allegations of a “Wells Fargo-like scheme” at CenturyLink—as opposed to actual

facts correcting Defendants’ alleged misrepresentations. Id. While Plaintiffs successfully

opposed these arguments at the motion to dismiss and class certification stages, Defendants

were free to assert that they rebutted loss causation at summary judgment and trial. If

Defendants were successful in making such arguments, some or all the alleged


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misrepresentations might have been removed from the case, thereby reducing or

eliminating damages. See id.

       Defendants would have likely reasserted and further refined arguments raised at

class certification that, if accepted by the Court or a jury, could have significantly reduced

recoverable damages or eliminated them entirely. For example, Defendants likely would

have also argued that damages associated with disclosures of the Minnesota Attorney

General lawsuit and consumer class actions would necessarily have to be limited in light

of the fact that CenturyLink settled those actions for modest sums—orders of magnitude

smaller than the claimed damages alleged by the Minnesota Attorney General and in the

consumer actions that were discussed in the Complaint. ¶126.

       Defendants would have contended that—unlike the billing misconduct that led to

$3 billion in SEC and other government fines and sanctions at Wells Fargo—here, the

nationwide consumer action settled for $15.5 million (plus administrative costs), the

Attorney General actions settled for similarly modest amounts, and there have been no

government investigations or proceedings by any federal regulator relating to the alleged

underlying misconduct or any securities-law violations related to it. See ¶123. Thus,

Defendants could have persuasively argued that the declines in CenturyLink’s stock price

in response to disclosures of the underlying lawsuits here were not compensable but instead

reflected “fear, uncertainty, and doubt” about a “Wells Fargo-like” scheme at CenturyLink

when, in fact, the facts here are far different than in Wells Fargo. See id. In contrast to the

modest sums paid by CenturyLink, Wells Fargo paid $3 billion—including a $500 million

fine to the SEC for making misstatements to investors—to resolve federal prosecutors’


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claims, entered into a deferred prosecution agreement, and clawed back tens of millions of

dollars in compensation from its senior executives. See id. In this light, Defendants’ loss

causation arguments about the stock price declines in this case could have intuitive jury

appeal.

       Further, as Defendants forcefully argued at class certification, Defendants would

clearly contend at summary judgment and trial that any class period should end after the

first alleged corrective disclosure. ¶¶125-26. While the Court correctly recognized that

these arguments were inappropriate at the class certification stage, it explicitly noted that

such arguments could properly be brought at summary judgment or trial. ¶125. If

Defendants had succeeded in cutting off the class period at the first alleged corrective

disclosure, it would have potentially reduced damages by more than 50%. Id.

       Moreover, as noted above, Defendants could have argued that there was no loss

causation because the fact of consumer complaints was known to the market years before

the alleged corrective disclosures, which also would have significantly reduced recoverable

damages or eliminated them entirely. ¶113. Defendants also could have raised additional

arguments beyond those previewed at class certification which, if accepted by the Court or

a jury, could have significantly reduced recoverable damages or eliminated them entirely.

For example, Defendants could have argued that the fact that this action was itself filed

prior to the disclosure of the Minnesota Attorney General’s lawsuit undermines any

argument that the Class would be able to recover for stock price declines following the

disclosure of that action. See ¶128; see also,, e.g., In re Signet Jewelers Ltd. Sec. Litig.,




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2019 WL 3001084, at *18-19 (S.D.N.Y. July 10, 2019) (limiting class period based on

similar argument).

       Resolution of disputed issues regarding damages would have boiled down to a

“battle of experts,” and Defendants would undoubtedly have been able to present a well-

qualified expert who would opine that the class’s damages were smaller or nonexistent.

¶129. Because Plaintiffs could not be certain which expert’s view would be credited by

the jury, this “battle of experts” posed an additional litigation risk. See In re Charter

Commc’ns, Inc., Sec. Litig., 2005 WL 4045741, at *16 (E.D. Mo. June 30, 2005) (securities

class action was “subject to a battle of experts”). Plaintiffs recognize that the above risks

posed a possibility that the Class would not be able to recover at all or would have

recovered a lesser amount if the Action proceeded through summary judgment, trial, and

appeals.

       2.     The Settlement Is Reasonable in Light of the Likely Recoverable
              Damages

       The Settlement is also a favorable result when considered in relation to the amount

of damages that could realistically be established at trial. Indeed, the Settlement here

would represent the single largest securities class action recovery on behalf of investors in

a publicly traded company in the District of Minnesota that exclusively alleges claims

under Section 10(b) and Section 20(a) of the Exchange Act, where there was not a related

SEC investigation or criminal U.S. Department of Justice inquiry—a fact that strongly

supports the reasonableness of the settlement here.




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       Lead Counsel’s consultation with experts in damages and loss causation issues in

securities class actions similarly confirm the reasonableness of the Settlement when

compared to the amount of damages Plaintiffs could recover at trial. Even assuming

Plaintiffs prevailed on all liability issues, Lead Counsel believes that the maximum total

damages Plaintiffs could realistically establish at trial was approximately $315 to $690

million (though, of course, if Defendants succeeded on some or all of their other loss

causation and damages arguments, damages would be reduced substantially below this

amount). ¶133. Thus, the $55 million Settlement represents approximately 8% to 17% of

the realistic maximum recoverable damages for the Class. Id.

       The level of recovery achieved through the Settlement is significantly greater than

the normal recovery amount in comparable securities class action settlements with similar

maximum damages—a factor that strongly supports approval. See Cornerstone Research,

Securities Class Action Settlements: 2020 Review and Analysis (2021) (Fig. 5) (Ex. 11) at

6 (from 2011 to 2019, the median settlement recovery in securities fraud class actions with

damages estimated between $500 and $999 million was 3.3%, and in 2020 it was 2.6%);

see also, e.g., id. at 20 (App’x 5) (in securities class actions in the Eighth Circuit from 2011

to 2020, the median settlement recovery was 6.1% of estimated damages); Beaver Cnty.

Emps.’ Ret. Fund v. Tile Shop Holdings, Inc., 2017 WL 2574005, at *3 (D. Minn. June 14,

2017) (holding settlement representing 6.8% to 9.5% of provable damages “strongly”

supported approval, noting amount “exceeds the median recovery of estimated damages in

similar securities class actions”).




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       3.     The Costs and Delays of Continued Litigation Support Approval of the
              Settlement

       The substantial costs and delays that would be required before any recovery could

be obtained through litigation also strongly support approval of the Settlement. If the

litigation had continued, Plaintiffs would have had to prevail at several additional stages:

summary judgment, trial, and if Plaintiffs had prevailed at trial, on the appeal that likely

would have followed. See ¶¶96-97, 101. This process would have taken years and

presented new risks at each stage, including the risk of intervening changes in the law.

       Moreover, here, the risk of an intervening change in law having a material impact

on Plaintiffs’ ability to recover damages in this action was not remote. For example, the

U.S. Supreme Court recently granted certiorari and heard argument to consider the Second

Circuit’s decision in Arkansas Teacher Retirement System v. Goldman Sachs Group, Inc.,

955 F.3d 254 (2d Cir 2020), which the Court considered in granting class certification and

upholding Plaintiffs’ allegations of price impact. See Goldman Sachs Grp. v. Arkansas

Tchr. Ret. Sys., 141 S. Ct. 950 (2020); In re CenturyLink Sales Pracs. & Sec. Litig., 2020

WL 5517483, at *10-13 (D. Minn. Sept 14, 2020). Depending on how the Supreme Court

rules, Defendants could seek to decertify the Class or even seek dismissal of Plaintiffs’

claims altogether. See ¶¶99-100.

       The Settlement avoids these risks and will provide a prompt and certain benefit to

the Class, rather than risk a smaller recovery—or none at all—after additional years of

litigation and appeals. See In re BankAmerica Corp. Sec. Litig., 210 F.R.D. 694, 702 (E.D.

Mo. 2002) (finding that “the complexity, expense and duration of litigation weigh in favor



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of approving the proposed settlement” because trial of the securities action “would be

lengthy, costly and complex,” and, “[r]egardless of the outcome at trial, post-judgment

appeals were likely”).3

       4.     All Other Factors Set Forth in Rule 23(e)(2)(C) Support Approval of
              the Settlement

       Rule 23(e)(2)(C) also instructs courts to consider whether the relief provided for the

class is adequate in light of “the effectiveness of any proposed method of distributing relief

to the class, including the method of processing class-member claims;” “the terms of any

proposed award of attorney’s fees, including timing of payment;” and “any agreement

required to be identified under Rule 23(e)(3).” Fed. R. Civ. P. 23(e)(2)(C)(ii)-(iv). Each

of these factors also supports approval of the Settlement or is neutral and does not suggest

any basis for inadequacy of the Settlement.

       First, the procedures for processing Class Members’ claims and distributing the

proceeds of the Settlement to eligible claimants in this case are well-established, effective

methods that have been widely used in securities class-action litigation. As set forth in the

notice approved by the Court at the preliminary approval stage, the proceeds of the

Settlement will be distributed to class members who submit eligible Claim Forms with

required documentation to the Court-appointed Claims Administrator, Epiq Class Action



3
 Defendants’ ability to pay an amount greater than the Settlement Amount does not suggest
that the Settlement is inadequate. See Petrovic, 200 F.3d at 1152 (“While it is undisputed
that [defendant] could pay more than it is paying in this settlement, this fact, standing alone,
does not render the settlement inadequate.”); Rawa v. Monsanto Co., 2018 WL 2389040,
at *7 (E.D. Mo. May 25, 2018) (this factor was “neutral” where Defendants’ financial
condition would not prevent it paying a larger amount).

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& Claims Solutions, Inc. (“Epiq”). ¶¶135-40. Epiq will provide claimants with an

opportunity to cure any deficiencies in their claims or request review by the Court of a

denial of their claim and will mail or wire eligible claimants their pro rata share upon

approval of the Court.4

       Second, the relief provided for the Class is also adequate when the terms of the

proposed award of attorney’s fees are taken into account.             As discussed in the

accompanying Fee Memorandum, the proposed attorneys’ fees of 25% of the Settlement

Fund, to be paid upon approval by the Court, are reasonable in light of the efforts of Lead

Counsel and the risks in the litigation. Moreover, approval of attorneys’ fees is entirely

separate from approval of the Settlement in this case, and neither Plaintiffs nor Lead

Counsel may terminate the Settlement based on any ruling with respect to attorneys’ fees.

See Stipulation ¶16.

       Third, Rule 23 asks the court to consider the fairness of the proposed settlement in

light of any agreements required to be identified under Rule 23(e)(3). See Fed. R. Civ. P.

23(e)(2)(C)(iv). Here, the only such agreement (other than the Stipulation itself) is the

Parties’ confidential Supplemental Agreement, which sets forth the conditions under which

CenturyLink may terminate the Settlement if the requests for exclusion from the Class

reach a specified threshold. See Stipulation ¶37. “This type of agreement is a standard

provision in securities class actions and has no negative impact on the fairness of the



4
 The Settlement is not a claims-made settlement. If the Settlement is approved, Defendants
will have no right to the return of any portion of Settlement based on the number or value
of Claims submitted. See Stipulation ¶13.


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Settlement.” Signet Jewelers Ltd., 2020 WL 4196468, at *13; see also Hefler v. Wells

Fargo & Co., 2018 WL 6619983, at *7 (N.D. Cal. Dec. 18, 2018) (“The existence of a

termination option triggered by the number of class members who opt out of the Settlement

. . . does not weigh against approval” of settlement).

       The Settlement Treats Class Members Equitably Relative to Each Other

       The proposed Settlement treats members of the Class equitably relative to one

another. See Fed. R. Civ. P. 23(e)(2)(D). As discussed below in Part II, pursuant to the

Plan of Allocation, eligible claimants approved for payment by the Court will receive their

pro rata share of the recovery based on their purchases or acquisitions of CenturyLink

common stock and/or 7.60% Notes during the Class Period. ¶¶141-49. Plaintiffs will

receive the same level of pro rata recovery as all other Class Members.

       Reaction of the Class

       In considering approval of a settlement, the court also may consider “the amount of

opposition to the settlement.” See, e.g., Keil, 862 F.3d at 693; Van Horn, 840 F.2d at 607.

To date, the reaction of the Class has been positive. Epiq began mailing copies of the

Notice and Claim Form (the “Notice Packet”) to potential Class Members and nominees

on April 15, 2021. See Declaration of Owen F. Sullivan (Ex. 4) (the “Sullivan Decl.”) ¶¶4-

6. As of June 14, 2021, Epiq had mailed a total of 951,921 copies of the Notice Packet.

See id. ¶10. The Notice set out the essential terms of the Settlement and informed potential

Class Members of, among other things, their right to opt out of the Class or object to any

aspect of the Settlement, and the procedure for submitting Claim Forms. While the

deadline set by the Court for Class Members to exclude themselves or object to the


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Settlement has not yet passed, to date, no objections to the Settlement or the Plan of

Allocation has been received and only 24 requests for exclusion have been received. ¶140;

Sullivan Decl. ¶17.5

                                           *            *    *

       In sum, all of factors to be considered under Rule 23(e)(2) and Eighth Circuit law

support a finding that the Settlement is fair, reasonable, and adequate.

II.    THE PLAN OF ALLOCATION IS FAIR AND REASONABLE

       A plan for allocating settlement proceeds, like the settlement itself, should be

approved if it is fair, reasonable, and adequate. See Charter Commc’ns, 2005 WL 4045741,

at *10. A plan of allocation “need only have a reasonable, rational basis, particularly if

recommended by ‘experienced and competent’ class counsel.” Id.

       Here, the proposed Plan of Allocation, which was developed by Lead Counsel in

consultation with Plaintiffs’ damages expert, provides a fair and reasonable method to

allocate the Net Settlement Fund among Class Members who submit valid Claim Forms.

In developing the Plan of Allocation, Plaintiffs’ expert calculated the amount of estimated

artificial inflation in the prices of publicly traded CenturyLink common stock and 7.60%

Notes during the Class Period which allegedly was proximately caused by Defendants’

alleged false and misleading statements by considering the price changes in these securities

in reaction to the alleged corrective disclosures, adjusting for changes attributable to market


5
  The deadline for submitting objections and requesting exclusion from the Class is June
29, 2021. As provided in the Preliminary Approval Order, Plaintiffs will file reply papers
by July 13, 2021 addressing the requests for exclusion and any objections that may be
received.

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and industry factors and assumptions related to the case provided by Lead Counsel. ¶¶141-

49.

        Under the Plan of Allocation, a “Recognized Loss Amount” will be calculated for

each purchase or acquisition of publicly traded CenturyLink common stock and 7.60%

Notes during the Class Period that is listed in the Claim Form and for which adequate

documentation is provided. Notice ¶¶54, 56. In general, the Recognized Loss Amount

will be the difference between the estimated artificial inflation on the date of purchase and

the estimated artificial inflation on the date of sale, or the difference between the actual

purchase price and sales price, whichever is less. Id. ¶53. Claimants who purchased and

sold all their shares of CenturyLink common stock or 7.60% Notes before the first

corrective disclosure, or who purchased and sold all their shares or notes between two

consecutive dates on which artificial inflation was allegedly removed from the price of

CenturyLink common stock or 7.60% Notes (that is, they did not hold the shares over a

date where artificial inflation was allegedly removed from the securities’ prices), will have

no Recognized Loss Amount under the Plan of Allocation with respect to those transactions

because any loss they suffered would not have been caused by the disclosure of the alleged

fraud. Id. To date, no objections to the proposed Plan of Allocation have been received.

See ¶140.

III.    NOTICE TO THE CLASS SATISFIED THE REQUIREMENTS OF RULE
        23 AND DUE PROCESS

        The Notice to the Class satisfied the requirements of Rule 23(c)(2)(B), which

requires “the best notice that is practicable under the circumstances, including individual



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notice to all members who can be identified through reasonable effort.” Fed. R. Civ. P.

23(c)(2)(B). The Notice also satisfied Rule 23(e)(1), which requires that notice of a

settlement be “reasonable” – i.e., it must “fairly apprise the prospective members of the

class of the terms of the proposed settlement and of the options that are open to them in

connection with [the] proceedings.” Grunin v. Int’l House of Pancakes, 513 F.2d 114, 122

(8th Cir. 1975).

       Epiq began sending copies of the Notice Packet to potential Class Members on April

15, 2021. See Sullivan Decl. ¶¶4-6. As of June 14, 2021, Epiq has disseminated over

951,921 copies of the Notice Packet to potential Class Members and nominees. See id.

¶10. In addition, Epiq caused the Summary Notice to be published in Investor’s Business

Daily and transmitted over PR Newswire on April 26, 2021. See id. ¶11. Copies of the

Notice and Claim Form, as well as other relevant documents, including the Complaint, the

Stipulation, and the Preliminary Approval Order, were made available on the settlement

website maintained by Epiq beginning on April 14, 2021. See id. ¶16. This combination

of individual mail to all Class Members who could be identified with reasonable effort,

supplemented by notice in an appropriate, widely circulated publication, transmitted over

newswires, and set forth on internet websites, was “the best notice . . . practicable under

the circumstances.” Fed. R. Civ. P. 23(c)(2)(B); see, e.g., Tile Shop, 2017 WL 2574005,

at *1-2 (approving comparable notice).

                                     CONCLUSION

       For the foregoing reasons, Plaintiffs respectfully request that the Court approve the

proposed Settlement and Plan of Allocation as fair, reasonable, and adequate.


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Dated: June 15, 2021            Respectfully submitted,
                                /s/ Michael D. Blatchley
                                John C. Browne, NYS Bar No. 3922747
                                Michael D. Blatchley, NYS Bar No. 4747424
                                Michael M. Mathai, NYS Bar No. 5166319
                                BERNSTEIN LITOWITZ BERGER &
                                   GROSSMANN LLP
                                1251 Avenue of the Americas
                                New York, New York 10020
                                Telephone: (212) 554-1400
                                Facsimile: (212) 554-1444
                                johnb@blbglaw.com
                                michaelb@blbglaw.com
                                michael.mathai@blbglaw.com

                                Keith S. Dubanevich, OSB No. 975200
                                Timothy S. DeJong, OSB No. 940662
                                Keil M. Mueller, OSB No. 085535
                                Lydia Anderson-Dana, OSB No. 166167
                                Megan K. Houlihan, OSB No. 161273
                                STOLL STOLL BERNE LOKTING &
                                   SHLACHTER P.C.
                                209 SW Oak Street, Suite 500
                                Portland, OR 97204
                                Telephone: (503) 227-1600
                                Facsimile: (503) 227-6840
                                kdubanevich@stollberne.com
                                tdejong@stollberne.com
                                kmueller@stollberne.com
                                landersondana@stollberne.com
                                mhoulihan@stollberne.com

                                Special Assistant Attorneys General and Counsel
                                for Lead Plaintiff the State of Oregon by and
                                through the Oregon State Treasurer and the
                                Oregon Public Employee Retirement Board, on
                                behalf of the Oregon Public Employee Retirement
                                Fund and Fernando Alberto Vildosola, as trustee
                                for the AUFV Trust U/A/D 02/19/2009, and Lead
                                Counsel for the Class




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                             Richard A. Lockridge, MN No. 64117
                             Gregg M. Fishbein, MN No. 202009
                             Kate M. Baxter-Kauf, MN No. 392037
                             LOCKRIDGE GRINDAL NAUEN P.L.L.P.
                             100 Washington Avenue S, Suite 2200
                             Minneapolis, MN 55401
                             Telephone: (612) 596-4044
                             Facsimile: (612) 339-0981
                             ralockridge@locklaw.com
                             gmfishbein@locklaw.com
                             kmbaxter-kauf@locklaw.com

                             Liaison Counsel for Lead Plaintiff the State of
                             Oregon by and through the Oregon State
                             Treasurer and the Oregon Public Employee
                             Retirement Board, on behalf of the Oregon Public
                             Employee Retirement Fund and Fernando Alberto
                             Vildosola, as trustee for the AUFV Trust U/A/D
                             02/19/2009, and Lead Counsel for the Class




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